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                      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON

 Plaintiff/ Petitioner:                                                              Case No:
 ARNAUD PARIS                                                                        1:24-cv-00648-AA
 Defendant I Respondent:                                                            DECLARATION OF SERVICE
 HEIDI MARIE BROWN



The undersigned, deposes and says: That she is now and at all times herein mentioned was a citizen of the United States,
over the age of eighteen years, not a party to or interested in the above entitled action and competent to be a witness
therein.

That on Wed, Aug 07 2024 at 11 :59 AM, at the address of 5300 MEADOWS ROAD SUITE 200, within LAKE OSWEGO, OR, the
undersigned duly served the following document(s): Discovery Order in the above entitled action upon Katelyn Skinner
and Katrina Seipel, by then and there, at the usual place of business of said entity, personally delivering 1 true and correct
copy(ies) of the above documents into the hands of and leaving same with Wendy Goodyear, paralegal for the
serveesuwho stated that she was authorized to accept on behalf of Katelyn Skinner or Katrina Seipel.

Recipient Description: White female; early 50s, 5'1 O" approx 300 lbs; blond hair

I declare under penalty of perjury under the laws of the State of Oregon that the foregoing is true and correct:

Date:   08/07/2024




                                                               Tea Godfrey
                                                               SOLID SERVE LEGAL LLC
                                                               10121 SE SUNNYSIDE RD Suite 300
                                                               CLACKAMAS, OR 9701 S
                                                               503-928-6362
